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           IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                 8:09CR48
                              )
          v.                  )
                              )
ROBERTO CAMACHO-GUTIERREZ,    )                       ORDER
                              )
               Defendant.     )
______________________________)


           This matter is before the Court on two filings of

defendant (Filing Nos. 163 and 164), seeking appointment of a

public defender but raising in his motion complaints with respect

to his legal representation.        The Court will treat Filing No. 163

as a motion filed pursuant to 28 U.S.C. § 2255 and Filing No. 164

as a proposed amendment to that “motion.”             Neither adequately

sets forth a basis for relief.       Accordingly,

           IT IS ORDERED that defendant shall have until October

29, 2010, in which to file an amended motion pursuant to 28

U.S.C. § 2255 setting forth his claims of ineffective assistance

of counsel.   Failure to comply with this order will constitute

grounds for denial of defendant’s motions.             The Court reserves

ruling on defendant’s application for appointment of counsel.

           DATED this 14th day of September, 2010.

                                    BY THE COURT:

                                    /s/ Lyle E. Strom
                                    ______________________________
                                    LYLE E. STROM, Senior Judge
                                    United States District Court
